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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 9
      UNITED STATES OF AMERICA,
                                                                 NO. CR06-026RSL
10
                            Plaintiff,

11
                    v.                                           ORDER DENYING DEFENDANT’S
                                                                 MOTIONS TO REDUCE
12
      AWAD YIMER AYNISHER,                                       SENTENCE AND FOR COUNSEL

13
                            Defendant.

14                                          I. INTRODUCTION

15          This matter comes before the Court on pro se petitioner’s “Motion Seeking Modification

16   of Sentence” (Dkt. #422) and for counsel to represent him on this motion (Dkt. #425). Having

17   reviewed the submissions of the parties and the applicable law, the Court DENIES petitioner’s

18   motions.

19                                            II. DISCUSSION

20   A.     Motion to Reduce Sentence

21          Petitioner moves for a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2), which

22   provides:

23        [I]n the case of a defendant who has been sentenced to a term of imprisonment based on a
          sentencing range that has subsequently been lowered by the Sentencing Commission
24        pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the Director of the Bureau
          of Prisons, or on its own motion, the court may reduce the term of imprisonment, after
25        considering the factors set forth in section 3553(a) to the extent that they are applicable,
          if such a reduction is consistent with applicable policy statements issued by the Sentencing
26   Commission.

27   However, § 3582(c)(2) is inapplicable here because defendant’s sentence was not based on a sentencing

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 1   range that was lowered. Defendant was sentenced to a 10 year mandatory minimum required by statute.

 2   See 21 U.S.C.A. § 841(a)(1). The Sentencing Commission has not altered and cannot alter a statutory

 3   mandatory minimum sentence, and that mandate continues to apply. See, e.g., United States v. Paulk,

 4   569 F.3d 1094, 1095 (9th Cir. 2009) (“We must decide whether a defendant sentenced pursuant to a

 5   statutory mandatory minimum is entitled to a reduction of sentence under 18 U.S.C. § 3582(c)(2). We

 6   conclude that the district court has no authority to reduce a sentence in these circumstances . . . .”)

 7          18 U.S.C. § 3582(c)(2) also does not apply here because Mr. Aynisher’s sentence was

 8   based on a binding plea agreement pursuant to Fed. R. Crim. P. 11(c)(1)(C). See Dkt.#432-2 at
 9   5. This Court has no authority to alter a sentence imposed under this provision. See Fed. R.
10   Crim. P. 11(c)(1)(C) (“ . . .such a recommendation or request binds the court once the court
11   accepts the plea agreement”); see also United States v. Pacheco-Navarette, 432 F.3d 967, 971 (9th
12   Cir. 2005).

13          For both the reasons cited above, petitioner’s motion is DENIED.
14   B.     Motion for Counsel
15          After submitting his motion for a sentence reduction, Mr. Aynisher filed another letter
16   motion (Dkt. #425) requesting the Court appoint a lawyer to represent him in this motion. For
17   the reasons outlined above, petitioner’s motion fails as a matter of law. The Court also DENIES
18   his motion for counsel.
19                                             III. CONCLUSION
20          For the foregoing reasons, the Court DENIES petitioner’s motions to reduce sentence
21   (Dkt. #422) and for counsel (Dkt. #425).
22          DATED this 8th day of January, 2010.
23

24                                                  A
                                                    Robert S. Lasnik
25                                                  United States District Judge
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